       Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 1 of 36
                                                                         Service of Process
                                                                         Transmittal
                                                                         01/12/2015
                                                                         CT Log Number 526380219
TO:      Sheryl Garland
         Nordstrom, Inc.
         1700 7th Ave Ste 1500
         Seattle, WA 98101-4419

RE:     Process Served in Massachusetts
FOR:     Nordstrom, Inc. (Domestic State: WA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Judith Shaulis, Pltf. vs. Nordstrom, Inc., etc., Dft.
DOCUMENT(S) SERVED:               Summons, Proof of Service, Second Amended Complaint, Exhibit(s), Attachment
COURT/AGENCY:                     Suffolk County Superior Court, MA
                                  Case # SUCV201403483
NATURE OF ACTION:                 Injunctive and Declaratory Relief - Fraud - Breach of Contract by "Compare At" price
                                  does not exist in the marketplace - Unjust Enrichment - Violations of the Code of
                                  Massachusetts Regulations and the FTCA - Violations of M.G.L. c 93A - False or
                                  Deceptive Price Advertising
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Boston, MA
DATE AND HOUR OF SERVICE:         By Process Server on 01/12/2015 at 13:40
JURISDICTION SERVED :             Massachusetts
APPEARANCE OR ANSWER DUE:         Within 20 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):          S. James Boumil
                                  S. James Boumil, J.D.
                                  120 Fairmount Street
                                  Lowell, MA 01852
                                  978-458-0507
ACTION ITEMS:                     CT has retained the current log, Retain Date: 01/13/2015, Expected Purge Date:
                                  01/18/2015
                                  Image SOP
                                  Email Notification, Sheryl Garland sheryl.garland@nordstrom.com
                                  Email Notification, Robert Ranf robert.l.ranf@nordstrom.com
                                  Email Notification, Lauren Peter lauren.c.peter@nordstrom.com
                                  Email Notification, Nordstrom Risk Records rskrcds@nordstrom.com
                                  Email Notification, Sylvia Lock-Kirihara sylvia.lock-kirihara@nordstrom.com
SIGNED:                           C T Corporation System
ADDRESS:                          155 Federal Street
                                  Suite 700
                                  Boston, MA 02110
TELEPHONE:                        617-757-6404




                                                                         Page 1 of 2 / RS
                                                                         Information displayed on this transmittal is for CT Corporation's
                                                                         record keeping purposes only and is provided to the recipient for
                                                                         quick reference. This information does not constitute a legal
                                                                         opinion as to the nature of action, the amount of damages, the
                                                                         answer date, or any information contained in the documents
                                                                         themselves. Recipient is responsible for interpreting said
                                                                         documents and for taking appropriate action. Signatures on
                                                                         certified mail receipts confirm receipt of package only, not
                                                                         contents.
       Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 2 of 36
                                                                        Service of Process
                                                                        Transmittal
                                                                        01/12/2015
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TO:      Sheryl Garland
         Nordstrom, Inc.
         1700 7th Ave Ste 1500
         Seattle, WA 98101-4419

RE:     Process Served in Massachusetts
FOR:     Nordstrom, Inc. (Domestic State: WA)




DOCKET HISTORY:
         DOCUMENT(S) SERVED:      DATE AND HOUR OF SERVICE:             TO:                                 CT LOG NUMBER:

         Letter, Attachment       By Regular Mail on 11/04/2014 at 11:20 Sheryl Garland                      526013163
                                  postmarked on 11/03/2014               Nordstrom, Inc.




                                                                        Page 2 of 2 / RS
                                                                        Information displayed on this transmittal is for CT Corporation's
                                                                        record keeping purposes only and is provided to the recipient for
                                                                        quick reference. This information does not constitute a legal
                                                                        opinion as to the nature of action, the amount of damages, the
                                                                        answer date, or any information contained in the documents
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                                                                        contents.
            Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 3 of 36


                               Commonthealth of Allaotatbusettt

SUFFOLK, ss.                                                                              SUPERIOR COURT DEPARTMENT
                                                                                          OF THE TRIAL COURT
                                                                                        , CIVIL ACTION

                                                           CV
                                                                                           No cnCV7014-nqd$3

                                 Judith Shaulic                                                                 , Plaintiff(s)


                                                                   V.


                                   Nord qt-r-r-nyi Tnc,                  /1-3/ Nenrqt-rom t-hc, ,                Defendant(s)
                                                                                                            Rack
                                                               SUMMONS


To the above-named Defendant:

      You are hereby summoned and required to serve upon
                                                                                        S. James Boumil, , Esq.


plaintiff's attorney, whose address is 120 Paimourrt. tAywell, M                              ,an answer to
the complaint which is herewith served upon you, within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint. You are also required to file:your answr to the complaint in the office
                                                                            1
of the Clerk of this court at Boston either before service upon plaintiff's attorney or within a reasonable
time thereafter.

    Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff's claim or you will thereafter be barred from making such claim in any other action.
                                                        3 -,
        Witness, Jn4ith. Fabricant, Esquire, al B:6'Ston, the 31 gt                                  day of
 December                          , in the year of our Lord two thousand  201  4




                                                                                                                             Clerk/Magistrate
                              Deputy Sheriff Suffolk county

NOTES.
I. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

2. When more than one defendant is involved, the names of all defendants should appear in the caption. If a separate summons is used   for each defendant,
   each should be addressed to the particular defendant.

3. TO PLAINTIFF'S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED
  (1) TORT — (2)    MOTOR VEHICLE TORT —(3) CONTRACT —(4) EQUITABLE RELIEF

FORM CIV.P. I 3rd Rev. 20M-10/11
                                        Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 4 of 36
                                                                        PROOF OF SERVICE OF PROCESS


     I hereby certify and return that on                 , 201,...._, I served a copy of the within summons,
together with a copy of the complaint in this action, upon the within-named defendatil.t, in the following
manner (See Mass. R. Civ. P. 4 (d) (1-5):




Dated.                                                                ,201




                                   N.B. TO PROCESS SERVER: -
                                         PLEASE PLACE DATE YOUMAKE SERVICE oSibtF-ENDASIIN---—
                                         THIS BOX ON THE ORIGINAL AND ON COPY SERVED ON DEFENDANT.
Commontuealth of filamsatbusetto




                                                                                     I.
                                                     Judith Sbaulis
                                    SUFF OLK, ss..
        Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 5 of 36
A




                    COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss                                   SUFFOLK SUPERIOR COURT
                                              C.A. NO. SUCV2014-03483

Judith Shaulis,                        )
       Plaintiff,                      )
                                       )
v.                                     )
                                       )
NORDSTROM, INC.,                       )
d/b/a NORDSTROM RACK,                  )
      Defendant.                       )
                                       )

             SECOND AMENDED CLASS ACTION COMPLAINT


       Plaintiff, Judith Shaulis ("Plaintiff), on behalf of herself and all others
similarly situated, alleges the following based upon personal knowledge as to
allegations regarding Plaintiff and on information and belief as to other allegations:

                             I. INTRODUCTION
1.     This is a civil class action seeking monetary damages, restitution,
injunctive and declaratory relief from Defendant, Nordstrom, Inc. ("Nordstrom"),
arising from its deceptive and misleading labeling and marketing of merchandise it
sells at its company-owned Nordstrom Rack stores. Defendant's Agent for the
service of process in the Commonwealth is "CT Corporation System" 155 Federal
Street, Suite 700, Boston, MA 02110. The address of the Corporation's principal
headquarters is 1617 6th Avenue, Seattle, Washington 98101.
2.     During the Class Period (defined below), Nordstrom misrepresented the
existence, nature, and amount of price discounts on products: (a) manufactured
exclusively for Nordstrom Rack and sold at Nordstrom Rack; and (b) manufactured
by other brands and sold at Nordstrom Rack (collectively "Nordstrom Rack

                                                                                    1
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Products") by purporting to offer discounts off of fabricated former prices. The
term "Nordstrom Rack Products" expressly excludes products sold at Nordstrom
Rack stores that were actually previously offered for sale at Nordstrom main line
retail stores.
3.     Specifically, Nordstrom represented—on the price tags of its Nordstrom
Rack Products—"Compare At" prices that were overstated and did not represent a
bona fide price at which Nordstrom formerly sold Nordstrom Rack Products. Nor
were the advertised "Compare At" prices prevailing market retail prices within
three months immediately preceding the publication of the advertised former
prices, as required by Massachusetts law.
4.     Having touted false "Compare At" prices, Nordstrom then offered, on the
same sales tags, to sell Nordstrom Rack Products for prices that supposedly
represented a deep percentage discount off of the false "Compare At" prices.
5.     But the "Compare At" prices used by Nordstrom were a sham. In fact,
Nordstrom sells certain goods manufactured by third-party designers for exclusive
sale at its Nordstrom Rack stores and other outlet stores, which means that such
items were never sold—or even intended to be sold—at the "Compare At" *ices
advertised on the price tags. Nordstrom Rack Products were never offered for sale
in Nordstrom's main line retail stores in Massachusetts, or in any other state.
Nordstrom Rack's website, however, falsely suggests that the Nordstrom Rack
Products are equivalent to the products sold at Nordstrom's main line retail stores:
"Why Shop the Rack? Because we have the most current trends and the brands you
love for 30-70% off original prices—each and every day." The truth is that the
Nordstrom Rack Products are not discounted off "original prices." Most Nordstrom
Rack Products are seldom if ever offered for sale at the Nordstrom main line retail
stores and are typically of lesser quality.
6.     The "Compare At" prices listed on Nordstrom Rack Products' tags did
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not represent a former price at all—much less a former price in the preceding three
months as required by 940 CMR 6:01 et seq. They are fictional amounts
intentionally selected so that Nordstrom Rack could advertise phantom
markdowns. The entire price tag — indeed the entire "outlet
store" &/or "discount store" motif— is designed to falsely convince consumers that
they are buying main line retail designer brand products at reduced prices. In fact,
consumers are buying lower quality goods that were never offered or sold as
genuine quality designer brand clothing and accessories, and even if buying regular
quality goods, are not purchasing such goods for real discounts in compliance with
the Massachusetts code of Regulations and other applicable law.
7.    The Federal Trade Commission ("FTC") explicitly describes the
fictitious pricing scheme employed at Nordstrom Rack stores as deceptive:
      (a) One of the most commonly used forms of bargain advertising is to offer a
      reduction from the advertiser's own former price for an article. If the former
      price is the actual, bona fide price at which the article was offered to the
      public on a regular basis for a reasonably substantial period of time, it
      provides a legitimate basis for the advertising of a price comparison. Where
      the former price is genuine, the bargain being advertised is a true one. If, on
      the other hand, the former price being advertised is not bona fide but
      fictitious -- for example, where an artificial, inflated price was established
      for the purpose of enabling the subsequent offer of a large reduction --
      the'bargain" being advertised is a false one; the purchaser is not receiving
      the unusual value he expects. In such a case, the "reduced" price is, in
      reality, probably just the seller's regular price.

16 C.F.R. § 233.1.
8.    Similarly, Massachusetts statutory and regulatory law expressly prohibits
false pricing schemes. For example, 940 CMR 6:01 defines the term "Price
Comparison". See 940 CMR 6:01 et seq. "Price Comparison" means the
comparison in any advertisement (whether or not expressed wholly or in part in
dollars, cents, fractions, or percentages) of a seller's current price for a product
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with any other price or representation of value, whether or not such other price is
actually stated in the advertisement. Price comparison includes any price reduction
claim or savings claim which a seller makes with respect to the seller's current
price for any product.
9.    The Nordstrom Rack pricing scheme was prominently displayed on
substantially all products available for sale at Nordstrom Rack stores in
Massachusetts. To illustrate, a merchandise Price tag and sales slip for an item sold
at Nordstrom Rack is attached hereto as Exhibits A & B.
10.   Upon information and belief, thousands of Massachusetts consumers were
victims of Nordstrom's deceptive, misleading, and unlawful false pricing scheme
and thousands more will be deceived if the practices continue.
Nordstrom fraudulently concealed from, and intentionally failed to disclose to,
Plaintiff, and others similarly situated, the truth about its "Compare At" prices and
advertised price discounts from those supposedly former prices.
Nordstrom's false representations of original 'prices and false representations of
purported savings, discounts, and bargains are objectively material to a reasonable
consumer.
11.   Plaintiff relied upon such false representations of "Compare At" prices and
discounts when purchasing apparel from a Nordstrom Rack store in Massachusetts.
Plaintiff would not have made such purchase, or would not have paid the amount
she did, but for Nordstrom's false representations of the former price of the items
she purchased, as compared to the supposedly discounted "Compare At" price and
corresponding "savings" at which Nordstrom Rack offered the items for sale.
Plaintiff, in short, believed the truth of the price tags attached to the products she
purchased at Nordstrom Rack, which expressly advertised that she was getting a
significant discount on her purchase. In fact, she was not getting a bargain at all.
Through its false and deceptive marketing, advertising, and pricing scheme,
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       4




           Nordstrom violated (and continues to violate) Massachusetts law prohibiting
           advertising goods for sale as discounted from former prices which are false, and
           prohibiting misleading statements about the existence and amount of price
a)
tp.o       reductions. Specifically, Nordstrom violated (and continues to violate) 940 CMR
           6:01 et seq., and the Federal Trade Commission Act ("FTCA"), which prohibits
           "unfair or deceptive acts or practices in or affecting commerce" and specifically
           prohibits false advertisements. 15 U.S.C. §§ 52(a) and 15 U.S.C. § 45(a)(1).
           Plaintiff, individually and on behalf of all others similarly situated, seeks
           restitution and other equitable remedies, including an injunction under applicable
           statutory law.
                                              II. PARTIES
           12.   Plaintiff, Judith Shaulis, is an individual who is a citizen of Pembroke,
           Massachusetts. In reliance on Nordstrom's false and deceptive advertising,
           marketing, and pricing schemes, Plaintiff purchased an item from Nordstrom Rack
           located in Boston, MA, on November 1, 2014, and as detailed herein, was
           damaged as a result thereof.
           13.   Defendant Nordstrom, Inc. is a corporation duly organized and existing
           under the laws of the State of Washington, with its principal place of business at
           1617 Sixth Avenue, Seattle, WA, 98101.
           14.   As of 2014, Nordstrom operates five (5) Nordstrom Rack stores in
           Massachusetts, throughout several Counties including Suffolk.
                                  III. JURISDICTION AND VENUE
           15.   This Court has original jurisdiction of this action pursuant to Mass R. Civ
           Proc. 23, G.L. c 93A, and the common law of the Commonwealth.
           16.   The Commonwealth of Massachusetts has personal jurisdiction over
           Nordstrom, Inc. because Nordstrom, Inc. is licensed and doing business in Suffolk,
           Middlesex, Essex, and Worcester Counties in Massachusetts, authorized to do
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business in Massachusetts and registered with the Massachusetts Secretary of
State, and has sufficient minimum contacts with Massachusetts, having
intentionally availed itself of the Massachusetts market so as to render the exercise
of jurisdiction over it by this Court consistent with traditional notions of fair play
and substantial justice. Upon information and belief, every day that its stores are
open in the Commonwealth, the Defendant solicits business from and actually sells
products to hundreds if not thousands of Massachusetts concumers.
17.   Venue is proper in the Suffolk Superior Court, Commonwealth of
Massachusetts because Plaintiff is a resident of Massachusetts; Defendant operates
its stores in Suffolk, Middlesex, Essex, and Worcester Counties in Massachusetts
and because a the events giving rise to the claims occurred in Suffolk, Middlesex,
Worcester, and Essex Counties.


                        IV. FACTUAL ALLEGATIONS


18.   Traditionally, retail outlet stores were located in remote areas and typically
maintained an inventory of defective and excess merchandise. Customers often
flocked to these outlets in hopes of finding steep discounts and bargains. See
http: //www.forbes.com/sites/investopedia/2012/ 12/29/7 -tips-for-outlet-mall-
shopping/ (last visited November 3, 2014).
19.   However, in an effort to increase profits, major retailers such as Nordstrom
Rack have, without notice to consumers, begun using company-owned
outlet stores to sell made-for-outlet goods that are never intended to be sold at non-
outlet stores, and further to operate these stores as "discount" outlets at which
superior "bargains" are available.
20.   The very terms "outlet" conveys to reasonable consumers that products are
comprised of merchandise formerly offered for sale at full-price retail locations.
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Similarly, the Nordstrom Rack name connotes a store selling discounted outlet
clothing. Indeed, Nordstrom Rack's website describes Nordstrom Rack as "the off-
price retail division of Nordstrom Inc., which was founded in 1901 in Seattle,
Washington by John W. Nordstrom."
21.    Instead, retailers like Nordstrom create the illusion of traditional outlet
discounts and bargains by offering the made-for-outlet goods at prices reduced
from fabricated, arbitrary, and false prices. In short, outlet stores such as
Nordstrom Rack are using false and fraudulent price comparison tactics. See
          .
http://www.buzzfeed.com/sapnakustomers-finally-aware-that-most-
outlet-merchandise-is-now (last visited November 3, 2014) ("While price tags on
outlet goods may list a manufacturer-suggested retail price (known as an MSRP)
or, a 'valued at' price, that's little more than a number ascribed by the retailer and
doesn't mean it was ever sold for such a sum in an actual full-price retail
location.").
22.    The intentional use of false and fraudulent price comparison tactics is
increasingly deceiving consumers in the market. To illustrate, on January 30, 2014,
four Members of Congress demanded an FTC investigation of misleading
marketing practices by outlet stores across the United States. The four Members of
Congress described a pricing scheme similar to the one implemented at Nordstrom
Rack stores and stated, "ET is a common practice at outlet stores to advertise a
retail price alongside the outlet store price—even on made-for-outlet merchandise
that does not sell at regular retail locations. Since the item was never sold in the •
regular retail store or at the retail price, the retail price is impossible to
substantiate. We believe this practice may be a violation of the FTC's Guides
Against Deceptive Pricing (16 CFR 233)."            I
See http://www.whitehouse.senate.gov/news/release/sens-and-rep-to-fic-outlet-
stores-may-be-misleading-consumers.
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         23. This is precisely the practice used by Nordstrom in its Nordstrom Rack
         stores.

CO                                      V.    Plaintiffs Purchase
 (1.)
  b.()   24. On November 1, 2014, Plaintiff entered the Nordstrom Rack located in
 ra
         Boston, Massachusetts. She observed that merchandise was advertised with price
         tags that represented "Compare At" prices that were directly on top of prices
         significantly reduced by a percentage amount. Enticed by the idea of paying
         significantly less than the "Compare At" price charged outside of Nordstrom Rack,
         Plaintiff was induced to purchase a cardigan sweater with a "Compare At" price of
         $218.00 and an actual price of $49.97.
         By purchasing the sweater identified in Exhibits A & B hereto for a "Compare At"
         price of $218.00, for the sum of $49.97. By purchasing the item shown in Exhibit
         A for $49.97 instead of the "Compare At" price of $218.00, Plaintiff was induced
         to believe that she saved at least 77% on her purchase. In fact, Nordstrom declared
         to the customer "You SAVED: $168.03 Congratulations! You saved more than
         you spent. You're a shopping genius!"
         25.   In reality, Nordstrom never intended nor did it ever sell the item on Exhibit
         A at the represented "Compare At" price.
         Thus, Plaintiff was deceived by the false price comparison into making a full retail
         purchase with no discount.
         26.       Plaintiff's and class members' reliance on Nordstrom's false price
         comparison advertising was reasonable. In fact, empirical marketing studies
         provide an incentive for retailers to engage in this false and fraudulent behavior:
               [c]omparative price advertising offers consumers a basis for comparing the
               relative value of the product offering by suggesting a monetary worth of the
               product and any potential savings... {A] comparative price advertisement can
               be construed as deceptive if it makes any representation,... or involves any
               practice that may materially mislead a reasonable consumer.
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Comparative Price Advertising: Informative or Deceptive?, Dhruv Grewal and
Larry D. Compeau, Journal of Public Policy & Marketing, Vol. 11, No. 1, at 52
(Spring 1992). In short:
      [b]y creating an impression of savings, the presence of a higher reference
      price enhances subjects' perceived value and willingness to buy the
      product.. .Thus, if the reference price is not truthful, a consumer may be
      encouraged to purchase as a result of a false sense of value.

Id. at 55, 56.
27.    Despite the "Compare At" scheme used at Nordstrom Rack stores, Plaintiff
would purchase Nordstrom Rack Products in the future from Nordstrom Rack
stores and/or other retail establishments, if price tags accurately reflect "former"
prices and discounts. Currently, however, Plaintiff and Massachusetts consumers
have no realistic way to know which—if any—of Nordstrom Rack price tag
comparisons are not false or deceptive. If the Court were to issue an injunction
ordering Nordstrom to comply with Massachusetts' comparative price advertising
laws, and prohibiting Nordstrom's use of the deceptive practices discussed herein,
Plaintiff would likely shop for Nordstrom Rack Products again in the near future at
Nordstrom Rack stores.
                           VI. CLASS ALLEGATIONS
28.    Plaintiff incorporates and realleges by reference each and every allegation
contained in the preceding paragraphs as if set forth herein in full.
29.    Plaintiff brings this action on behalf of herself and the members of the
proposed Class. The proposed Class consists of:
       All individuals residing in the Commonwealth of Massachusetts who, within
       the applicable statute of limitations preceding the filing of this action
(including but not limited to from 11/2/10 through the present —"Class Period"),
       purchased Nordstrom Rack Products.                                              C3*
                                                                                         a)
                                                                                         tztx)
                                                                                        a.
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      30.   Excluded from the Class are Nordstrom, its parents, subsidiaries, affiliates,
      officers and directors, any entity in which Nordstrom has a controlling interest, all
      customers who make a timely election to be excluded, governmental entities, and
CD
et0
      all judges assigned to hear any aspect of this litigation, as well as their immediate
      family members.
      31.   The members of the Class are so numerous that joinder is impractical. The
      Class consists of thousands of members, the precise number which is within the
      knowledge of and can be ascertained only by resort to Nordstrom's records.
      32.   There are numerous questions of law and fact common to the Class which
      predominate over any questions affecting only individual members of the Class.
      Among the questions of law and fact common to the Class are:
            (a)   Whether, during the Class Period, Nordstrom used false price
            representations and falsely advertised price discounts on Nordstrom Rack
            Products;

            (b) Whether, during the Class Period, the "Compare At" prices advertised
            by Nordstrom were the prevailing market prices for the Nordstrom Rack
            Products during the three month periods preceding the dissemination and/or
            publication of the advertised former prices;

            (c)    Whether Nordstrom's use of false or deceptive price advertising
            constituted false advertising under Massachusetts Law;

            (d) Whether Nordstrom engaged in unfair, unlawful and/or fraudulent
            business practices under Massachusetts law;

            (e)    Whether Nordstrom misrepresented and/or failed to disclose material
            facts about its product pricing and discounts;

            (f)   Whether Nordstrom made false or misleading statements of fact
            concerning the reasons for, existence of, or amounts of price reductions;

            (g) Whether Nordstrom's conduct, as alleged herein, was intentional and
            knowing;
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         (h) Whether Class members are entitled to damages and/or restitution,
         and in what amount;

         (i)    Whether Nordstrom is likely to continue using false, misleading or
         illegal price comparisons such that an injunction is necessary; and

         (j)   Whether Plaintiff and Class members are entitled to an award of
         reasonable attorneys' fees, pre-judgment interest and costs of suit.

33.      Plaintiffs claims are typical of the claims of the members of the Class and,
like all members of the Class, purchased goods from a Nordstrom Rack store that
falsely conveyed a "Compare At" price and a fictitious discount. Accordingly,
Plaintiff has no interests antagonistic to the interests of any other member of the
Class.
34.      Plaintiff is a representative who will fully and adequately assert and protect
the interests of the Class, and has retained counsel who is experienced in
prosecuting class actions. Accordingly, Plaintiff is an adequate representative and
will fairly and adequately protect the interests of the Class.
35.      A class action is superior to all other available methods for the fair and
efficient adjudication of this lawsuit, because individual litigation of the claims of
all members of the Class is economically unfeasible and procedurally
impracticable. While the aggregate damages sustained by the Class are in the
millions of dollars, the individual damages incurred by each member of the Class
resulting from Nordstrom's wrongful conduct are too small to warrant the expense
of individual lawsuits. The likelihood of individual Class members prosecuting
their own separate claims is remote, and, even if every member of the Class could
afford individual litigation, the court system would be unduly burdened by
individual litigation of such cases.
36.      The prosecution of separate actions by members of the Class would create a
              Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 16 of 36



       risk of establishing inconsistent rulings and/or incompatible standards of
       conduct for Nordstrom. For example, one court might enjoin Nordstrom from
CNI
       performing the challenged acts, whereas another might not. Additionally,
 a)
 b.0
       individual actions may be dispositive of the interests of the Class, although certain
       class members are not parties to such actions.
       37. The conduct of Nordstrom is generally applicable to the Class as a whole
       and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
       whole. As such, the systematic policies and practices of Nordstrom make
       declaratory relief with respect to the Nordstrom Massachusetts class as a whole
       appropriate.


       37.1) This paragraph alleges certain typical examples of the pricing schemes and
       tactics utilized by the Defendant:
       a)     On 12/6/14 the Defendant at its Rack outlet in Danvers, MA offered for a
       sale a product identified as a Lafayette 148 New York "Stretch Wool Jacket". The
       price offered was $89.70, claiming to be an 85% discount from the "suggested
       retail price" of $598. A thorough search of intemet sites offering this product
       could find non offering the product for anywhere near $598.00. Indeed
       Nordstrom's own website (not the Rack) said that the product was "not available".

       b)     On 11/7/14 a Nordstrom representative stated in response to an inquiry about
       product availability that: "Since this jacket is last year's style we may have had
       them for a moment and the vendors may have sent us a different style to sell so we
       either sold through the older style or whatever we had left was sent to Nordstron
       rack".

       c)     On 12/6/14 a Tailorbird "Aubergine Sharkskin" blazer was offered at
       Nordstrom Rack in Danvers, MA, claiming a "compare at" price of $499 and a
       sales price of $89.97, amounting to an 82% savings. The product was unavailable
       on the Tailorbyrd website, and anywhere else that could be found, except at the
       Rack and at the price of $89.97. There is no evidence that this product was ever
       sold in any relevant market for any meaningful period of time for a price of $499,
       against a thorough search for such price and therefore upon informed information
              Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 17 of 36




       and belief, it did not.

       d)     On 12/6/14 a sweater bearing the label "Olivia Sky" stating that it was being
CY')
N-4    sold for $54.97 against a "Compare At" price of $168.00 was offered for sale at
 cu    Nordstrom Rack in Danvers, MA. There is no evidence that this product was ever
       sold in any relevant market for any meaningful period of time for a price of $168,
       against a thorough search for such price, and therefore upon informed information
       and belief it did not.

       e)    On 12/6/14 a sweater bearing the label "Olivia Sky" was offered for $29.97
       against a "compare at" price of $58.00 for an alleged savings of "48%". Style
       M5787RK. There 'is no evidence that this product was ever sold in any relevant
       market for any meaningful period of time for a price of $58.00 against a thorough
       search for such price, and therefore upon information and belief it did not.

       f)     Pursuant to 940 CMR 6.03 "The responsibility for truthful and nondeceptive
       advertising rests with the seller. Sellers must be able to substantiate material
       representations made before such representations are disseminated" and further it
       is the Seller's responsibility to maintain the records needed to demonstrate that the
       Code of Massachusetts Regulations was complied with.

       g)    940 CMR 6.05 declares that it is the policy of the Commonwealth with
       respect to retail sales that "Abuse ... occurs when sellers fail to disclose material
       information which is important to enable consumers to understand the price
       comparison" , and further "It is the intent of 940 CMR 6.00 to ensure that the
       comparative price used in any price comparison advertisement provides accurate
       and meaningful guidance to the consumer, and to this end 940 CMR 6.05(1)
       through (17) are to be liberally construed.

       h)    On 12/6/14 a shirt purporting to be a "Brooks Brother's shirt, Blue
       #100014930 tagged "Compare at 92.00" was offered for sale at $49.97. The
       "compare at" shirt offered for $92 are in actuality NOT the same shirts as
       Nordstrom carries, but are instead are "Classic" Brooks Brothers shirts carried by
       Brooks Brothers and made of trademarked material "Supima" cotton. The
       Nordstrom shirts are not labeled as made from Supima and are not of the quality of
       the Brooks Brothers "Classic" line.

       i)   The practices of the Defendant as set forth in this Complaint and through
       numerous other examples that may be seen in any walk through of Defendant's
       Danvers Store in the Commonwealth violate the policy declared by 940 CMR 6.05,
             Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 18 of 36



      by among other things, suggesting to the consumer that the alleged substantial
      discounts they are allegedly obtaining were calculated by utilizing real product
      prices for identical merchandise sold in the relevant market available to consumers
      in the Commonwealth, at a relevant time. Manifestly if a product is no longer sold
cu    in main stream commerce, or is not anywhere available in a manner where
cis   consumers may find it upon a reasonable search, any "compare at" pricing or
      allegations of sale price are inherently misleading and violate the policy
      established by 940 CMR 6.00.

                                      COUNT I - FRAUD
      38.   Plaintiff incorporates and realleges by reference each and every allegation
      contained in the preceding paragraphs as if fully set forth herein.
      39.   At a specific time, namely November 1, 2014, the Defendant Nordstrom,
      made a specific representation to the Plaintiff that it was selling the item
      represented in Exhibits A & B hereto for a price of $49.97, which price represented
      a "77% savings".
      40.   Specifically, the Defendant Nordstrom, represented to the Plaintiff that the
      Plaintiff saved "$168.03" on the purchase and further represented "congratulations,
      you saved more than you spent, you're a shopping genius".
      41.   This representation was made at the Defendant's store in Boston located at
      497 Boylston Street, Boston, MA 02116. Based upon the allegations in the
      preceding Paragraphs and the entire setup of the "The Rack", the Defendant
      intended that the Plaintiff believe and rely upon its representation that the Plaintiff
      had saved more than she had spent and that the item was truly being sold at a 77%
      discount representing an enormous savings to the Plaintiff.
      42.   The Defendant made the above representations for the purpose of inducing
      and intending that the Plaintiff rely thereon and the Plaintiff did rely thereon.
      43.   The reliance of the Plaintiff was reasonable in that Nordstrom holds itself
      out to the public as a reputable department store which ought to be held in esteem
      by the public. Nordstrom states in its public advertising that "Since 1901, we've
       Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 19 of 36



been committed to providing our customers with the best possible service — and to
improving it every day".
44.   Nordstrom also advertises to its customers "In store or online, whatever new
opportunities arise, Nordstrom works relentlessly to give customers the most
compelling shopping experience possible". And additionally: Nordstrom
promises to "provide exceptional service, selection, quality, and value".
45.   The entire in-store atmosphere, presentation, advertising, intemet presence,
and commercial "packaging" of Nordstrom is an attempt by the Defendant to
create in the minds of the public that it is a store of high quality in which the public
may rely upon the representations made by management as to the pricing and
quality of the products offered.
46.   These acts and practices alleged above are fraudulent because they caused
Plaintiff, and are likely to cause consumers, to falsely believe that Nordstrom Rack
is offering value, discounts or bargains from the prevailing market worth of the
products sold that did not, in fact, exist. As a result, purchasers, including Plaintiff,
reasonably perceived that they were receiving products that regularly sold in the
non-outlet retail marketplace at substantially higher prices (and were, therefore,
worth more) than what they paid. This perception has induced reasonable
purchasers, including Plaintiff, to buy Nordstrom Rack Products, which they
otherwise would not have purchased.
47.   The gravity of the harm to members of the Class resulting from these
fraudulent acts and practices outweighed any conceivable reasons, justifications
and/or motives of Nordstrom Rack for engaging in such fraudulent acts and
practices.
48.   Through its fraudulent acts and practices, Nordstrom has improperly
obtained money from Plaintiff and the Class. As such, Plaintiff requests that this
court cause Nordstrom to restore this money to Plaintiff and all Class members,
       Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 20 of 36



and to enjoin Nordstrom from continuing to violate the 940 CMR 6:01 et seq. as
discussed herein and/or from violating the CMR in the future. Otherwise, Plaintiff
and the Class may be irreparably harmed and/or denied an effective and complete
remedy if such an order is not granted.
49.   A business act or practice is "fraudulent" under the CMR if it is likely to
deceive members of the consuming public.
50.    The labels on the Nordstrom Rack Products and advertising materials
concerning false former prices were fraudulent within the meaning of the
applicable CMR's because they deceived Plaintiff, and were likely to deceive
members of the class, into believing that Nordstrom was offering value, discounts
or bargains at Nordstrom Rack stores from the prevailing market value or worth of
the products sold that did not, in fact, exist.
51.    Nordstrom deceived consumers into believing that it was offering value,
discounts or bargains at Nordstrom Rack stores from the prevailing market value
or worth of the Nordstrom Rack products sold that did not, in fact, exist.
52.    As a result, purchasers, including Plaintiff, reasonably perceived that they
were receiving products that regularly sold in the main line retail marketplace at
substantially higher prices (and were, therefore, worth more) than what they paid.
This perception induced reasonable purchasers, including Plaintiff, to buy
Nordstrom Rack Products, which they otherwise would not have purchased.
53.    Nordstrom's acts and practices as described herein have deceived Plaintiff
and were highly likely to deceive members of the consuming public. Specifically,
in deciding to purchase Nordstrom Rack Products, Plaintiff relied on Nordstrom's
misleading and deceptive representations regarding its "Compare At" and
percentage discounted prices. Each of these factors played a substantial role in
Plaintiff's decision to purchase those products, and Plaintiff would not have
purchased those items in the absence of Nordstrom's misrepresentations and
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knowing fraud. Accordingly, Plaintiff suffered monetary loss as a direct result of
Nordstrom's pricing practices described herein.


                          Count II— Breach of Contract
54.   Plaintiff incorporates and realleges by reference each and every allegation
contained in the preceding paragraphs as if fully set forth herein.
55.   Defendant offers for sale at its stores in Massachusetts items such as the one
here in contest, at prices and terms similar to the terms set forth in Exhibit A
hereto. The majority of items offered for sale are stamped with the same "Compare
At" or functionally equivalent language set forth in those exhibits.
56.   A person (in this case the Plaintiff, or others of the same class similarly
situated) purchasing the item makes a contract of purchase and sale, consummated
by payment, typically in cash or by credit card. The items come with an implied
warranty of fitness, and parameters set forth in the documents contained on the
goods. For example, an item labeled "small", in instead measured as a "large"
could be returned for breach of contract and the money refunded (apart from store
policies). An item labeled "wool" which was instead "cotton", likewise, could be
returned and the "contract" of sale rescinded.
57.   All Massachusetts contracts contain an implied warranty of good faith and
fair dealing, which, at the least, means that the contract terms ought not to be
materially deceptive and misleading.
58.   The representation on the product documents which are Exhibits A & B is
that the price to be paid represents a 77% savings and, therefore, is a very
substantial sale in which more is saved than was spent. However, given that the
"Compare At" price does not exist in the marketplace within the meaning of the
requirements of the Code of Massachusetts Regulations, the terms of the contract
of purchase and sale are either explicitly violated or, at the very least, the covenant
                Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 22 of 36



        of good faith and fair dealing inherent in every Massachusetts contract has been
        violated. There was no 77% off "sale" arid no money was saved.
CO
1-1     The representations made in the contract of sale, consummated by payment, were a
  a)
  rt)   material inducement to effectuate the sale, upon which the Plaintiff and thousands
        similarly situated relied in purchasing goods from the Defendant.
        59.    As a result of these allegations the Plaintiff and all similarly situated class
        members have suffered damage for which compensation should be granted.


                                 COUNT III — Unjust Enrichment
        60. Plaintiff incorporates and realleges by reference each and every allegation
        contained in the preceding paragraphs as if fully set forth herein.
        61.    As a result of the conduct described above, Nordstrom has been unjustly
        enriched at the expense of Plaintiff and members of the proposed Class.
        Specifically, Nordstrom has been unjustly enriched by obtaining revenues and
        profits that it would not otherwise have obtained absent its false, misleading and
        deceptive conduct.
        62.    Through its unfair acts and practices, Nordstrom has improperly obtained
        money from Plaintiff and the Class. As such, Plaintiff requests that this court cause
        Nordstrom to restore this money to Plaintiff and all Class members, and to enjoin
        Nordstrom from continuing to violate the CMR's as discussed herein and/or from
        violating the CMR in the future. Otherwise, Plaintiff and the Class may be
        irreparably harmed and/or denied an effective and complete remedy if such an
        order is not granted.


              COUNT IV — Violations of the Code of Massachusetts Regulations and
                                         the FTCA

        63. Plaintiff incorporates and realleges by reference each and every allegation
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contained in the preceding paragraphs as if fully set forth herein.
64.    Nordstrom also violated and continues to violate 940 CMR 6:01 by
advertising false discounts from purported former prices that were, in fact, not the
prevailing market prices within three months next preceding the publication and
dissemination of advertisements containing the false former prices.
65.    The FTCA prohibits "unfair or deceptive acts or practices in or affecting
commerce" and specifically prohibits false advertisements. (15 U.S.C. § 45(a)(1)
and 15 U.S.C. § 52(a)). The FTC has established guidelines which prohibit false
pricing schemes, similar to Nordstrom's "Compare At" scheme in material
respects, as deceptive practices that would violate the FTCA:
       (a) One of the most commonly used forms of bargain advertising is to offer a
       reduction from the advertiser's own former price for an article. If the former
       price is the actual, bona fide price at which the article was offered to the
       public on a regular basis for a reasonably substantial period of time, it
       provides a legitimate basis for the advertising of a price comparison. Where
       the former price is genuine, the bargain being advertised is a true one. If, on
       the other hand, the former price being advertised is not bona fide but
       fictitious -- for example, where an artificial, inflated price was established
       for the purpose of enabling the subsequent offer of a large reduction -- the
       "bargain" being advertised is a false one; the purchaser is not receiving the
       unusual value he expects. In such a case, the "reduced" price is, in reality,
       probably just the seller's regular price.

16 C.F.R. § 233.1.
66.    Nordstrom's use of and reference to a materially false "Compare At"
price in connection with its marketing and advertisements concerning the
Nordstrom Rack Products violated and continues to violate the FTCA, 15 U.S.C. §
45(a)(1) and 15 U.S.C. § 52(a), as well as FTC Guidelines published at 16 C.F.R. §
233.
67.    As a result of the conduct described above, Nordstrom has been unjustly
enriched at the expense of Plaintiff and members of the proposed Class.
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Specifically, Nordstrom has been unjustly enriched by obtaining revenues and
profits that it would not otherwise have obtained absent its false, misleading and
deceptive conduct.
68. Through its unlawful acts and practices, Nordstrom has improperly
obtained money from Plaintiff and the Class. As such, Plaintiff requests that this
court cause Nordstrom to restore this money to Plaintiff and all Class members,
and to enjoin Nordstrom from continuing to violate the CMR as discussed herein
and/or from violating the CMR in the future. Otherwise, Plaintiff and the Class
may be irreparably harmed and/or denied an effective and complete remedy if
such an order is not granted.


Count V — Violations of M.G.L. c 93A


69)    Plaintiff incorporates and realleges by reference each and every allegation
contained in the preceding paragraphs as if fully set forth herein.
70)   The above allegations constitute fraudulent and deceptive trade practices
which violate M.G.L. ch 93A, including section 9 thereof.
71)   A "demand letter" as specified by G.L. c 93A:9(3) was sent to the
Defendant both by certified mail and standard mail, and both to its Agent for the
Service of Process in Massachusetts and to its home office. A copy of that
"demand letter" and the certified mailings are set forth as Exhibit C hereof. Said
Exhibit B is incorporated herein as if fully set forth in this complaint. Said demand
was sent more than 30 days prior to the filing of this First Amended Complaint,
which has been amended as of right under the Rules of civil Procedure. No
response has been received to the Exhibit C Demand as of the date of this
document, set forth at the end hereof.
72)   Pursuant to G.L. c 93A(9)(2):
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a)    The unfair and deceptive act or practice has caused injury similar to the
injury to Plaintiff to numerous other persons similarly situated, which the Plaintiff
fairly represents.
b)    Plaintiff brings this action on behalf of herself and all persons within the
Commonwealth similarly situated.
c)    Given that the practices detailed above have persisted over time for many
months and that the Defendant has at least 5 stores located in several counties in
Massachusetts, comprising upon information and belief, well over 100,000 square
feet of retail space in among the most busy and desirable retail locations in the
Commonwealth, it would be impractical if not impossible to seek relief for injured
consumers on an individual basis.
73) The acts and practices engage in by the Defendant as detailed above
constitute unfair methods of competition and unfair and deceptive trade practices
pursuant to G.L. c 93A:2 and/o the provisions of the Federal Trade Commission
Act cited thereunder, and further constitute "trade and commerce" as defined under
G.L. c 93A:1.


                             PRAYERS FOR RELIEF
WHEREFORE, Plaintiff and the members of the Class demand a jury trial on all
claims so triable and judgment against Defendant, Nordstrom, Inc., as follows:

      A.      An order certifying that this action may be maintained as a class
action, that Plaintiff be appointed Class Representative and Plaintiff's counsel be
appointed Class Counsel;

       B.     A judgment awarding Plaintiff and all members of the Class
restitution and/or other equitable relief, including, without limitation, restitutionary
disgorgement of all profits and unjust enrichment that Nordstrom obtained from
Plaintiff and the Class as a result of its unlawful, unfair and fraudulent business
practices described herein;
             Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 26 of 36



            C.    An order enjoining Nordstrom from continuing to violate the Code of
       Massachusetts Regulations as described herein;
CNI
NI            D.     A judgment awarding Plaintiff her costs of suit; including reasonable
 a)    attorneys' fees as permitted by statute or common law; and pre and post-judgment
 tuo
 cz    interest; and
 a.

             E.     A judgment of breach of contract damages, and
             F.     A judgment for damages resulting from fraud and deception, and
              G.    A judgment of multiple damages, and particularly three times
       damages, and in addition reasonable attorneys' fees, and the costs of this action as
       are allowed by statute, and

             H.      Such other damages pursuant to statute or common law, and such
       further relief as may be deemed necessary or appropriate under the facts as they are
       alleged or may be proven at trial, including any theory of law which may be
       applicable, whether designated to a particular "Count" or not.

       DATED: 12/8/14

       By: /s/
       S. James
                13?"
       (BBO#05 •40)
       Boumil Law Offices
       120 Fairmount Street
       Lowell, MA 01852
       Tel: 978-458-0507
       E-mail: SJBoumil@Boumil-Law.com

                              Attorney for Plaintiff
         PLAINTIFF demands a jury trial on all issues for which a trial by jury is
                               allowed or required.
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                    NORDSTROM




                        111119
                  497 Boylston Street
                   Boston, NA 02116
                     (057) 300-2300

   Store 547       Reg# 4901              Tran# 6961
   SALE      Rng: Adam W.

   SP UT BETT:OPEN CASCADE CARDI
   829479594137                               49.97
   Compare At 218,00

   SUBTOTAL                                   49.97
   SALES TAX                                   0.00
                                                            NORDSTROM      rack
   VISA          0000000000-0                 49,97         7890015
   ************1392 S                                       CHALKBOARD HEATHER

   TOTAL                                     49.97          B      111 111111I II
                                                                 29479 59413..7

   Total Items Purchased r, 1                               DEPT:597

   ******************************************               XL

                 0011 SE:        08,03
                  Congratulations!
           You saved more than you spent.
             You're a shopping genius!                      COMPARE AT    218.00
                                                            77% Savings    49.97
     • *Savings conparison not available for Ell items
   ******************************************
        Good shopping gets rewarded. Visit
    nordstromfashionrewards.com for details.

   ******************************************


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       Your feedback is extremely valuable.
                Take a 2 minute survey
               about your experience at:
           httos://survey,medallia,com/rack

      Thank you for shopping Nordstrom Rack.
               Follow us on Twitter
            http://twitter.corn/Botton Reck
                     #NordstromPaok

                SHOP WITH CONFIDENCE
              Now you have up to 90 days
            to make returns and exchanges.
Case 1:15-cv-10326-FDS
                    „4 Document 1-1 Filed 02/11/15 Page 28 of 36


                 NORDSTROM




                       Me Newbury .
                  497 Boylston Street
                    Boston, MA 02116
                     (B57) 300-2300

     Store 547       Reg # 4901              Tran# 6961
     SALE      Rng: Adam W.

    SP UT BETT:DPEN CASCADE CARDI
    829479594137                                49.97
    Compare At 216.00

    SUBTOTAL                                   49.97
    SALES TAX                                   0.00
                                                           NORDSTROM        rack
    VISA          0000000000-0                 49.97       7890015
    ************1392 s                                     CHALKBOARD HEATHER

    TOTAL                                     49.97             1J T.1 PIA11114
    Total Items Purchased =1                               DEPT: 597

                                                           XL

                 #111   SAE: $168,03
                   Congratulations!
            You saved more than you spent.
              You're a shopping geniusL                    COMPARE AT     218.0+
                                                           77% Savings      49.G7
                                      i itens
      • Sings conparison not available for
    ******************************************
        Good snooping gets rewarded. Visit
     nordstromfashionrewards,com for details,

    ******************************************



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       Your feedback is extremely valuable,
              Take a 2 minute survey
            about your experience at:
        https://survey.medallia ,ccm/rack

      Thank you for shopping Nordstrom Rack.
                Follow us on Twitter
          httpt//twitter.com/Boston_Rack
                   #NordstromRack

                 SHOP WITH CONFIDENCE
              Now you have up to 90 days
            to make returns and exchanges.
        Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 29 of 36 EXHIBIT


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                                                                 gax: (gni) 453 - 5785
                                                          limail:A3PuumilOPrmmil-Natu .cam

Via Certified and First Class Mail

3 November, 2014

Nordstrom, Inc.
d/b/a "The Rack"
1617 6 th Avenue
Seattle, WA 98101

Service Agent for Nordstrom, Inc.
CT Corporation System
155 Federal Street, Suite 700
Boston, MA 02110

Dear Sir or Madam:

      Please be advised that this office, together with the office of Konstantine W.
Kyros, Esquire, Kyros Law Offices, PC, 17 Miles Road, Hingham, MA 02043, has
been retained to represent the interests of Judith Shaulis, a consumer who
purchased good from a Nordstrom, Inc., store known as Nordstrom "The Rack"
located in Boston, Massachusetts.

      The letter is sent to detail claims under Massachusetts General Laws Chapter
93A Section 9 concerning the fraudulent and deceptive trade practices of
Nordstrom, Inc. (d/b/a "The Rack") with. respect to the sale detailed in this letter.
Please be advised as follows:

                                  I. Introduction

      1.     Plaintiff, Judith Shaulis, is an individual who is a resident of
Pembroke, Massachusetts. In reliance on Nordstrom's false and deceptive
advertising, marketing, and pricing schemes, Ms. Shaulis purchased an item from
Nordstrom Rack located in Boston, MA, on October 1, 2014, and as detailed
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herein, was damaged as a result thereof.

       2.    Defendant Nordstrom, Inc. is a corporation duly organized and
existing under the laws of the State of Washington, with its principal place of
business at 1617 Sixth Avenue, Seattle, 'WA, 98101.

       3.     The Commonwealth of Massachusetts has personal jurisdiction over
Nordstrom, Inc. because Nordstrom, Inc. is licensed and doing business in Suffolk,
Middlesex, Essex, and Worcester Counties in Massachusetts, authorized to do
business in Massachusetts and registered with the Massachusetts Secretary of
State, and has sufficient minimum contacts with Massachusetts, having
intentionally availed itself of the Massachusetts market so as to render the exercise
of jurisdiction over it by this Court consistent with traditional notions of fair play
and substantial justice.

       4.     On November 1, 2014, Plaintiff entered the Nordstrom Rack located
in Boston, Massachusetts. She observed that merchandise was advertised with
price tags that represented "Compare At" prices that were directly on top of prices
significantly reduced by a percentage amount. Enticed by the idea of paying
significantly less than the "Compare At" price charged outside of Nordstrom Rack,
Plaintiff was induced to purchase a cardigan sweater with a "Compare At" price of
$218.00 and an actual price of $49.97.

       By purchasing the sweater identified in Exhibits A and B hereto for a
"Compare At" price of $218.00, for the sum of $49.97. By purchasing the item
shown in Exhibit A for $49.97 instead of the "Compare At" price of $218.00,
Plaintiff was induced to believe that she saved at least 77% on her purchase. In
fact, Nordstrom declared to the customer "You SAVED: $168.03 Congratulations!
You saved more than you spent. You're a shopping genius!" In reality,
Nordstrom never intended nor did it ever sell the item on Exhibit A at the
represented "Compare At" price.

       5.     In reality, Nordstrom never intended, nor did it ever, sell the sweater
at the represented "Compare At" price. Thus, Plaintiff was deceived by the false
price comparison into making a full retail purchase with no discount.

      6.     Plaintiffs and class members' reliance on Nordstrom's false price
comparison advertising was reasonable. In fact, empirical marketing studies
provide an incentive for retailers to engage in this false and fraudulent behavior:
        Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 31 of 36



      [c]omparative price advertising offers consumers a basis for comparing
      the relative value of the product offering by suggesting a monetary
      worth of the product and any potential savings...[A] comparative price
      advertisement can be construed as deceptive if it makes any
      representation,... or involves any practice that may materially mislead a
      reasonable consumer.

Comparative Price Advertising: Informative or Deceptive?, Dhruv Grewal and
Larry D. Compeau, Journal of Public Policy & Marketing, Vol. 11, No. I, at 52
(Spring 1992). In short:

      [b]y creating an impression of savings, the presence of a higher
      reference price enhances subjects' perceived value and willingness to
      buy the product...Thus, if the reference price is not truthful, a consumer
      may be encouraged to purchase as a result of a false sense of value.

Id. at 55,56.

       7.    Despite the "Compare At" scheme used at Nordstrom Rack stores,
Plaintiff would purchase Nordstrom Rack. Products in the future from Nordstrom
Rack stores and/or other retail establishments, if price tags accurately reflect
"former" prices and discounts. CuiTently, however, Plaintiff and Massachusetts
consumers have no realistic way to know which—if any—of Nordstrom Rack
price tag comparisons are not false or deceptive. If the Court were to issue an
injunction ordering Nordstrom to comply with Massachusetts' comparative price
advertising laws, and prohibiting Nordstrom's use of the deceptive practices
discussed herein, Plaintiff would likely shop for Nordstrom Rack Products again in
the near future at Nordstrom Rack stores.

      II.       Further Detail of Fraudulent and Deceptive Trade Practices

       8.   At a specific time, namely November 1, 2014, the Defendant
Nordstrom, made a specific representation to the Plaintiff that it was selling the
item represented in Exhibit A hereto for a price of $49.97, which price represented
a "77% savings".

       9.     Specifically, the Defendant Nordstrom, represented to the Plaintiff
that the Plaintiff saved "$168.03" on the purchase and further represented            Cn
"congratulations, you saved more than you spent, you're a shopping genius".            a)
                                                                                        b.r)
                                                                                       a.
         Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 32 of 36



       10. This representation was made at the Defendant's store in Boston
located at 497 Boylston Street, Boston, MA 02116. Based upon the allegations in
the preceding Paragraphs and the entire setup of the "The Rack", the Defendant
intended that the Plaintiff believe and rely upon its representation that the Plaintiff
had saved more than she had spent and that the item was truly being sold at a 77%
discount representing an enormous savings to the Plaintiff.

      11. The Defendant made the above representations for the purpose of
inducing and intending that the Plaintiff rely thereon and the Plaintiff did rely
thereon.

        12. The reliance of the Plaintiff was reasonable in that Nordstrom holds
itself out to the public as a reputable department store which ought to be held in
esteem by the public. Nordstrom states in its public advertising that "Since 1901,
we've been committed to providing our customers with the best possible service —
and to improving it every day".

      13. Nordstrom also advertises to its customers "In store or online,
whatever new opportunities arise, Nordstrom works relentlessly to give customers
the most compelling shopping experience possible". And additionally: Nordstrom
promises to "provide exceptional service, selection, quality, and value".

       14. The entire in-store atmosphere, presentation, advertising, internet
presence, and commercial "packaging" of Nordstrom is an attempt by the
Defendant to create in the minds of the public that it is a store of high quality in
which the public may rely upon the representations made by management as to the
pricing and quality of the products offered.

       15. These acts and practices above are fraudulent and deceptive trade
practices because they caused Plaintiff, and are likely to cause consumers, to
falsely believe that Nordstrom Rack is offering value, discounts or bargains from
the prevailing market worth of the products sold that did not, in fact, exist. As a
result, purchasers, including Plaintiff, reasonably perceived that they were
receiving products that regularly sold in the non-outlet retail marketplace at
substantially higher prices (and were, therefore, worth more) than what they paid.
This perception has induced reasonable purchasers, including Plaintiff, to buy
Nordstrom Rack Products, which they otherwise would not have purchased.

         16. A business act or practice is "fraudulent" under 940 CMR 6:01 et seg.
if it is likely to deceive members of the consuming public.
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       17. The labels on the Nordstrom Rack Products and advertising materials
concerning false former prices were fraudulent within the meaning of the
applicable CMGR's because they deceived Judith Shaulis into believing that
Nordstrom was offering value, discounts or bargains at Nordstrom Rack stores
from the prevailing market value or worth of the products sold that did not, in fact,
exist.

       18. Nordstrom deceived Ms. Shaulis into believing that it was offering
value, discounts or bargains at Nordstrom Rack stores from the prevailing market
value or worth of the Nordstrom Rack products sold that did not, in fact, exist.

      19. As a result, Ms. Shaulis reasonably perceived that she was receiving
products that regularly sold in the main line retail marketplace at substantially
higher prices (and were, therefore, worth more) than what she paid. This
perception induced the Plaintiff to buy Nordstrom Rack Products, which she
otherwise would not have purchased.

       20. Nordstrom's acts and practices as described herein have deceived
Plaintiff. Specifically, in deciding to purchase Nordstrom Rack Products, Plaintiff
relied on Nordstrom's misleading and deceptive representations regarding its
"Compare At" and percentage discounted prices. Each of these factors played a
substantial role in Plaintiff's decision to purchase those products, and Plaintiff
would not have purchased those items in the absence of Nordstrom's
misrepresentations and knowing fraud. Accordingly, Plaintiff suffered monetary
loss as a direct result of Nordstrom's pricing practices described herein.

       21. The representation on the product documents which are Exhibits A &
B is that the price to be paid represents a 77% savings and, therefore, is a very
substantial sale in which more is saved than was spent. However, given that the
"Compare At" price does not exist in the marketplace within the meaning of the
requirements of the Code of Massachusetts Regulations, the terms of the contract
of purchase and sale are either explicitly violated or, at the very least, the covenant
of good faith and fair dealing inherent in every Massachusetts contract has been
violated. There was no 77% off "sale" and no money was saved.

      The representations made in the contract of sale, consummated by payment,
were a material inducement to effectuate the sale, upon which the Plaintiff relied in
purchasing goods from the Defendant.

      22.    Nordstrom also violated and continues to violate 940 CMR 6:01 by
         Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 34 of 36



advertising false discounts from purported former prices that were, in fact, not the
prevailing market prices within three months next preceding the publication and
dissemination of advertisements containing the false former prices.

       23. The FTCA prohibits "unfair or deceptive acts or practices in or
affecting commerce" and specifically prohibits false advertisements. (15 U.S.C. §
45(a)(1) and 15 U.S.C. § 52(a)). The FTC has established guidelines which
prohibit false pricing schemes, similar to Nordstrom's "Compare At" scheme in
material respects, as deceptive practices that would violate the FTCA:

      (a) One of the most commonly used forms of bargain advertising is to
      offer a reduction from the advertiser's own former price for an
      article, lithe former price is the actual, bona fide price at which the
      article was offered to the public on a regular basis for a reasonably
      substantial period of time, it provides a legitimate basis for the
      advertising of a price comparison. Where the former price is genuine,
      the bargain being advertised is a true one. If, on the other hand, the
      former price being advertised is not bona fide but fictitious -- for
      example, where an artificial, inflated price was established for the
      purpose of enabling the subsequent offer of a large reduction -- the
      "bargain" being advertised is a false one; the purchaser is not receiving
      the unusual value he expects. In such a case, the "reduced" price is, in
      reality, probably just the seller's, regular price.

16 C.F.R. § 2331

      24. Nordstrom's use of and referenee to a materially false
"Compare At" price in connection with its marketing and advertisements
concerning the Nordstrom Rack Products violated and continues to violate the
FTCA, 15 U.S.C. § 45(a)(1) and 15 U.S.C. § 52(a), as well as FTC Guidelines
published at 16 C.F.R. § 233.

      25. Through its unlawful acts and practices, Nordstrom has improperly
obtained money from Plaintiff and the Class. As such, Plaintiff requests that this
court cause Nordstrom to restore this money to Plaintiff and all Class members,
and to enjoin Nordstrom from continuing to violate the CMR as discussed herein
and/or from violating the CMR in the future. Otherwise, Plaintiff and the Class
may be irreparably harmed and/or denied an effective and complete remedy if
such an order is not granted.                                                          taa
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           26. It is estimated that the cost of filing a complaint will be between
    $195 and $285 depending on the court in which it is filed, and that the cost of the
    sheriff service will be $65. Additionally, the cost of the certified mailing is
    reasonably estimated to be approximately $12.

                                       Ill. Relief

           Please be advised that this office charges $500 per hour for representation
    in this type of matter, and has already expended 3 hours investigating and
    researching the complaint set forth. It is estimated, subject to further discovery,
    that the true price for which the item was sold in the marketplace was, in fact, the
    price listed on the invoice which was not discounted by "77%" but, rather, it was
    discounted by nothing. Therefore, it is estimated that the Plaintiff has suffered in
    damage the entire price of the item plus the price of travel to Boston and parking
    to shop at "The Rack" having been induced to attend through the description of
    nonexistent discounts which in reality did not exist. It is estimated that another
    $25 was expended in that effort.

          Pursuant to Massachusetts General Law Chapter 93A Section 2(a), you
    have 30 days to respond to this letter with a good faith offer in settlement in
    response to this request.

           If you do not so respond, you are advised that the court may assess up to
    three times actual damages plus attorney's fees and the costs of any litigation.

    Sincerely yours


        • les Boumil, Esq.

    S.113/kdf
    Enclosure

    Nordstrom, Inc.: Certified Mail No.: 7002 0860 0008 7173 8225
    (The Rack)        Return Receipt Requested

    CT Corporation System: Certified Mail No.: 7002 0860 0008 7173 8232
    (Agent — Nordstrom)    Return Receipt Requested

    Cc: Konstantine W. Kyros, Esq. co-counsel
                                    Case 1:15-cv-10326-FDS Document 1-1 Filed 02/11/15 Page 36 of 36



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